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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                      Hon. Jeffrey Alker Meyer, U.S. District Judge

                          STANDING PROTECTIVE ORDER

1.   Application of Standing Order
     The following Order shall apply to information, documents, excerpts from documents,
     and other materials produced in this action pursuant to Federal and Local Rules of Civil
     Procedure governing disclosure and discovery. This Order applies only to those matters
     where all parties are represented by counsel.
2.   Designation of Materials
     (a) Information, documents and other materials may be designated by the producing party
     in the manner permitted (“the Designating Person”). All such information, documents,
     excerpts from documents, and other materials will constitute “Designated Material”
     under this Order. The designation shall be either “CONFIDENTIAL” or HIGHLY
     CONFIDENTIAL-ATTORNEYS’ EYES ONLY.” This Order shall apply to Designated
     Material produced by any party or third-party in this action.
     (b) For purposes of this order:
            (i) “CONFIDENTIAL” information means information, documents, or things that
            have not been made public by the disclosing party and that the disclosing party
            reasonably and in good faith believes contains or comprises (A) trade secrets, (B)
            proprietary business information, or (C) information implicating an individual’s
            legitimate expectation of privacy.
            (ii) “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” information
            means CONFIDENTIAL information that the disclosing party reasonably and in
            good faith believes is so highly sensitive that its disclosure to the opposing party
            would create a substantial risk of serious harm to the designating party (including
            but not limited to harm of a competitive or commercial nature) that could not be
            avoided by less restrictive means.
     (c) Documents shall be designated by stamping or otherwise marking the documents with
     the words “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES
     ONLY” thus clearly identifying the category of Designated Material for which protection
     is sought under the terms of this Order. Designated Material not reduced to documentary
     form shall be designated by the producing party in a reasonably equivalent way.
     (d) Deposition transcripts or portions thereof may be designated either:




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            (i) when the testimony is recorded, in which case the Designating Person may
            exclude from the deposition all persons other than those to whom the Designated
            Material may be disclosed under paragraph 3(a) of this Order; or,
            (ii) by written notice to all counsel of record, given within ten business days after
            the Designating Person’s receipt of the transcript, in which case all counsel
            receiving such notice shall be responsible for marking the copies of the designated
            transcript or portion thereof in their possession or control as directed by the
            Designating Person. Pending expiration of the ten business days, the deposition
            transcript shall be treated as designated.
     (e) The parties must use reasonable care to avoid designating as confidential documents
     or information that does not need to be designated as such.
     (f) Inadvertent production of confidential material prior to its designation as such in
     accordance with this Order shall not be deemed a waiver of a claim of confidentiality.
     Any such error shall be corrected within a reasonable time.
3.   Restrictions on Designated Material
     (a) Designated Material shall not be used or disclosed for any purpose other than the
     litigation of this action and may be disclosed only as follows:
            (i) Outside Counsel: Designated Material, including material designated
            “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed
            to outside counsel of record for parties to this action and their associates,
            paralegals, and regularly employed office staff. For purposes of this section,
            “outside counsel” are attorneys who are not employees of any party.
            (ii) Parties: Designated Material that is designated “CONFIDENTIAL” may be
            disclosed to parties to this action or directors, officers and employees of parties to
            this action, who have a legitimate need to see the information in connection with
            their responsibilities for overseeing the litigation or assisting counsel in preparing
            the action for trial or settlement. Material designated “HIGHLY
            CONFIDENTIAL-ATTORNEYS’ EYES ONLY” may not be disclosed to the
            parties to this action, except as this order expressly otherwise provides.
            (iii) In-House Counsel: Disclosure of HIGHLY CONFIDENTIAL-
            ATTORNEYS’ EYES ONLY Designated Material may be made to one or more
            designated “in-house” attorneys (i.e. attorneys who are an employee of the party)
            provided the identity and job functions of the in-house attorney(s) are disclosed to
            the producing party seven (7) days prior to any such disclosure, in order to permit
            any motion for protective order or other relief regarding such disclosure.
            (iv) Witnesses or Prospective Witnesses: Designated Material, including material
            designated “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be
            disclosed to a witness or prospective witness in this action, but only for purposes


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            of testimony or preparation of testimony in this case, whether at trial, hearing, or
            deposition, but it may not be retained by the witness or prospective witness.
            (v) Outside Experts: Designated Material, including material designated
            “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed
            to an outside expert for the purpose of obtaining the expert’s assistance in the
            litigation.
             (vi) Other Persons: Designated Material may be provided as necessary to
            copying services, translators, court reporters and litigation support firms.
     (b) Prior to disclosing or displaying any Designated Material to any person, counsel shall
     inform the person of the confidential nature of the Designated Material and inform the
     person that this Court has enjoined the use of the Designated Material by him/her for any
     purpose other than this litigation and has enjoined the disclosure of that information or
     documents to any other person.
     (c) The confidential information may be displayed to and discussed with the persons
     identified in Paragraphs 3(a)(ii)-(vi) only on the condition that, prior to any such display
     or discussion, each such person shall be asked to sign an agreement to be bound by this
     Order in the form attached hereto as Exhibit A. In the event such person refuses to sign
     an agreement in substantially the form attached as Exhibit A, the party desiring to
     disclose the confidential information may seek appropriate relief from the Court. Counsel
     shall maintain a collection of all signed documents by which persons have agreed to be
     bound by this Order.
     (d) A person having custody of Designated Material shall maintain it in a manner that
     limits access to the Designated Material to persons permitted such access under this
     Order.
     (e) Any party may employ Designated Material as a deposition exhibit, provided the
     deposition witness and all persons in attendance at the deposition are persons to whom
     the exhibit may be disclosed under paragraph 3(a) of this Order, the exhibit and related
     deposition transcript pages receive the same confidentiality designation as the original
     Designated Material.
4.   Objections to Designations
     A party may submit a request in writing to the party who produced Designated Material
     that the designation be modified or withdrawn. If the Designating Person does not agree
     to the redesignation within fifteen business days, the objecting party may apply to the
     Court for relief using the procedures set out on Judge Meyer’s website for the resolution
     of discovery disputes (http://www.ctd.uscourts.gov/content/jeffrey-alker-meyer). Upon
     any such application, the burden shall be on the Designating Person to show why the
     designation is proper. Before serving a written challenge, the objecting party must
     attempt in good faith to meet and confer with the Designating Person in an effort to



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     resolve the matter. The Court may award sanctions if it finds that a party’s position was
     taken without substantial justification.
5.   Use of Designated Materials in Court Filings and at Trial
     (a) Any Designated Material which becomes part of an official judicial proceeding or
     which is filed with the Court is public. Such Designated Material will be sealed by the
     Court only upon motion and in accordance with applicable law, including Rule 5(e) of
     the Local Rules of this Court. This Protective Order does not provide for the
     automatic sealing of such Designated Material. If it becomes necessary to file
     Designated Material with the Court, a party must comply with Local Civil Rule 5 by
     moving to file the Designated Material under seal.
     (b) Filing pleadings or other papers disclosing or containing Designated Material does not
     waive the designated status of the material. The Court will determine how Designated
     Material will be treated during trial and other proceedings as it deems appropriate.
6.   Treatment of Designated Materials After Final Termination of Action
     Upon final termination of this action, all Designated Material and copies thereof shall be
     returned promptly (and in no event later than forty-five (45) days after entry of final
     judgment), returned to the producing party, or certified as destroyed to counsel of record
     for the party that produced the Designated Material, or, in the case of deposition
     testimony regarding designated exhibits, counsel of record for the Designating Person.
     Alternatively, the receiving party shall provide to the Designating Person a certification
     that all such materials have been destroyed.
7.   Inadvertent Production and Privilege
     (a) Nothing in this Order shall require disclosure of information protected by the
     attorney-client privilege, or other privilege or immunity, and the inadvertent production
     of such information shall not operate as a waiver.
     (b) If a Designating Party becomes aware that it has inadvertently produced information
     protected by the attorney-client privilege, or other privilege or immunity, the Designating
     Party will promptly notify each receiving party in writing of the inadvertent production.
     When a party receives notice of such inadvertent production, it shall return all copies of
     inadvertently produced material within three business days. Any notes or summaries
     referring or relating to any such inadvertently produced material subject to claim of
     privilege or immunity shall be destroyed forthwith.
     (c) Nothing herein shall prevent the receiving party from challenging the propriety of the
     attorney-client privilege or work product immunity or other applicable privilege
     designation by submitting a challenge to the Court. The Designating Party bears the
     burden of establishing the privileged nature of any inadvertently produced information or
     material.




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     (d) Each receiving party shall refrain from distributing or otherwise using the
     inadvertently disclosed information or material for any purpose until any issue of
     privilege is resolved by agreement of the parties or by the Court. Notwithstanding the
     foregoing, a receiving party may use the inadvertently produced information or materials
     to respond to a motion by the Designating Party seeking return or destruction of such
     information or materials.
     (e) If a receiving party becomes aware that it is in receipt of information or materials
     which it knows or reasonably should know is privileged, Counsel for the receiving party
     shall immediately take steps to (i) stop reading such information or materials, (ii) notify
     Counsel for the Designating Party of such information or materials, (iii) collect all copies
     of such information or materials, (iv) return such information or materials to the
     Designating Party, and (v) otherwise comport themselves with the applicable provisions
     of the Rules of Professional Conduct.
6.   Other Orders and Rights Not Prejudiced
     The foregoing is entirely without prejudice to the right of any party to apply to the Court
     for any further Protective Order relating to Designated Material; or to object to the
     production of Designated Material; or to apply to the Court for an order compelling
     production of Designated Material; or for modification of this Order; or to seek any other
     relief from the Court.
7.   Modifications to Order
     The restrictions imposed by this Order may be modified or terminated only by further
     order of the Court.


                                                                           IT IS SO ORDERED.


                                                   /s/ Jeffrey Alker Meyer
                                                   Jeffrey Alker Meyer
                                                   United States District Judge


                                                                 Last Revised January 15, 2020




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